Case 6:22-cv-05921-RRS-DJA Document 2 Filed 11/10/22 Page 1 of 2 PageID #: 16
     AO 440 (Rev. 06/12) Summons in a Civil Action


                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                   LAFAYETTE DIVISION


            VERNA ALLEN LIGHTFOOT     )
                           Plaintiff  )
                    v.                ) Civil Action No. 6:22−CV−05921−RRS−DJA
                                      ) Judge Robert R Summerhays
    DOVER BAY SPECIALTY INSURANCE CO )
                 Defendant            )
                           SUMMONS IN A CIVIL ACTION

   To:
   Dover Bay Specialty Insurance Co




           A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) you
    must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the
    Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's
    attorney, whose name and address are:
                                        Derek Clinton Brasher
                                        Brasher Law Firm (BEAU)
                                        1122 Orleans St
                                        Beaumont, TX 77701

          If you fail to do so, judgment by default will be entered against you for the relief demanded in
    the complaint. You also must file your answer or motion with the court.




                                                                                CLERK OF COURT

   Date: 11/10/2022                                                            /s/ − Tony R. Moore
Case 6:22-cv-05921-RRS-DJA Document 2 Filed 11/10/22 Page 2 of 2 PageID #: 17
   AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

                                               6:22−CV−05921−RRS−DJA
                                           PROOF OF SERVICE
          (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

   This summons for Dover Bay Specialty Insurance Co was received by me on
   (date)______________________________.


             • I personally served the summons on Dover Bay Specialty Insurance Co at
               (place)__________________________ ____________________________________ on
               (date)_______________________; or

             • I left the summons at the individual's residence or usual place of abode with (name)
               _____________ ___________________________ , a person of suitable age and discretion
               who resides there, on (date) _________________ , and mailed a copy to the individual's
               last known address; or

             • I served the summons on (name of individual) ______________________, who is
               designated by law to accept service of process on behalf of (name of organization)
               _____________________ ________________________________________ on (date)
               _____________________; or

             • I returned the summons unexecuted because _____________________
               ________________________________________; or

             • Other (specify):

       My fees are $ __________ for travel and $ _________ for services, for a total of $
       ______________ .

       I declare under penalty of perjury that this information is true.




          Date: _______________________                         ______________________________
                                                                             Server's signature

                                                                ______________________________
                                                                           Printed name and title


                                                                ______________________________
                                                                             Server's address




 Additional information regarding attemped service,
 etc:
